                                                           SO ORDERED.


                                                           Dated: May 28, 2020


1

2
                                                           Daniel P. Collins, Bankruptcy Judge
3                                                          _________________________________

4

5

6
                         IN THE UNITED STATES BANKRUPTCY COURT
7
                                FOR THE DISTRICT OF ARIZONA
8
      In re:                              )      In Chapter 7 Proceedings
9                                         )
      CHARLES M. BREWER,                  )      Case No. 2:11-BK-27322-DPC
10    CHARLES M. BREWER, LTD.,            )      Case No. 2:12-BK-14957-DPC
                                          )
11                            Debtors.    )      (Jointly Administered)
                                          )
12
                                         ORDER
13
                  The trustee having filed a Motion To Retain Assets After The
14
      Case Is Closed (Admin. Dkt. No. 1141); and
15
                  Notice of the motion having been given to all creditors and
16
      parties in interest and no objections having been filed and served
17
      (Admin. Dkt. No. 1142, 1143); and
18
                  Good cause appearing.
19
                  IT IS ORDERED that the claim for fees owed to the bankruptcy
20
      estate in connection with litigation pending in the Maricopa County
21
      Superior Court, Case No. CV2012-003601 (the “Litigation”) is property
22
      of the estate pursuant to 11 U.S.C. §541 and shall not be abandoned and
23
      shall remain property of this bankruptcy estate upon the closing of
24
      this bankruptcy estate.       If and when funds are received by the trustee
25
      from the Litigation then the case can be re-opened and those funds
26
      shall be distributed pursuant to 11 U.S.C. §726.
27
                                DATED AND SIGNED ABOVE.
28

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